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vu\NA v.CI§U§(%@QWLzQ?§)Z _

12¢» N. Vi'cginia A\Hne

Atlmae city, N.J. 08401

   
 

  

UNITED STATES DISTRLCT COURT

   

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' ' BW
VIANA V' BAILEY 1 Case nov 2:15_¢\7_22\[)£')[”¥{

Plainti£f ,

NOTICE OF ACCEPTANCE OF OFFER OF JUDGMENT,
Fed.R.Civ.P. 68(a),

CERIIFICATE'OF SERVICE,
AFFIRMATION AND VERIFICATION, 28 USC$ §

Vo

wame osCAa HARRIS, EI AL-, 174,6.<.1).

V\/\/\/

Defendan ts -

 

T`O: lacan DA'-JID "NEAL, basement

runway TAl<E Ncrrlcm that I, VlANA V. BAILEY, the Plainriff in this °cause of

M.HCtiOn,-h€reQY;ASQEPTS`the OEfer of Judgment, Fed.R.Civ.P. 68, that you,]ROBERT
DAVID 'NEAl.`, 'vdefendant, have _served upon me this_ zgday Of\/},Llj/, 2016-

’ ' Take note that l_fully agree that this judgment to be taken will fully incorpor~

ate ALL of the- terms and conditions you have deta

ratifies and fully incorporates, for conclus

(6)~documents entitled

iled in your Offer of Judgment, which

J'_Ve e‘.fidentiar~y purposes, the accompanying six

"Claim for 'Mandatory Judicial Notice Nos- l, 2, 3, l*, 51 and 6','
that are being filed concurrently herewith, giving 'res judicata and collateral estoppel

o

effect to ALL of these matters forevermore

_ v AFF:LRMATION and vERIFICA'T:coN
l.ln accordance with 2_8 USCS § 17(»6(1)1 under the penalties of perjury, l do her'e~
by certi¢lf.y that the foregoing is all trué,

correct, certain and not misleading, i.e.
the facts of the 'matter. E)cecuted this ’LS day of j\L\\{ _, 2016.

by:

 

vIANA v. BAILEY, P<jinciff
' ' _cERT§;-IEIGATE,_<)F travich .
On thisl ‘7/§ day of, j\L\\I "" ,_, 2016, I did place the foregoing in.the U.S. -
Hails as follows: ` “ ' ' '

ROBERT DAVID _NEAL and the other defendants
\ .-907 Cornerstone Place

Las Vegas, NV 89031

. .\Jnder the penalties .of

_ perjury,_ re 28 USCS § 1746
foregoing is all t

(l), I do hereby certify that the
rue= correct and cer tain. ' ‘

by:

‘ vIANA v. BAILEY. , P)®lnviff
124 N. Viriginia Avenue
Atlantic

City, N.J. 08401

 

 

